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3    Sacramento, CA 95814
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4
     Attorney for Defendant
5    Janelle Miller
6                      IN THE UNITED STATES DISTRICT COURT
7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,        )   Case No. 2:06-cr-00495-MCE
                                      )
10              Plaintiff,            )   STIPULATION AND ORDER
                                      )   CONTINUING STATUS CONFERENCE
11        vs.                         )   Date: January 28, 2010
                                      )   Time: 9:00 AM
12                                    )   Court: MCE
     JANELLE MILLER,                  )
13                                    )
                                      )
14                                    )
                Defendant
                                      )
15

16
          The defendant set forth above is charged with distribution
17
     of cocaine base and related charges and at the present time, is
18
     facing a minimum mandatory ten years to life imprisonment. Her
19
     co-defendant has pled guilty and been sentenced. Ms. Miller is
20
     on pretrial release.
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22        There are issues in this case relating to Ms. Miller’s

23   comparative involvement and the amount of contraband

24   attributable to her under the Guidelines which have yet to be

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1    resolved and the parties are working to foster resolution short
2    of trial.
3
          Accordingly, it is hereby stipulated by the parties that
4
     the status conference in this matter, which is scheduled for
5
     January 7, 2010, be continued to Thursday, January 28, 2010, at
6
     9:00 AM for entry of plea or setting of jury trial.
7
          I declare under penalty of perjury that the foregoing is
8
     true and correct.
9
          Signed at Sacramento, California on January 6, 2010.
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11

12                              /S/MICHAEL B. BIGELOW
                                Michael B. Bigelow
13                              Attorney for Defendant, Miller

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1                                 STIPULATION
2         It is hereby stipulated by and between the parties through
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     their respective counsel that the status conference in the
4
     above-entitled case presently set for Thursday, January 7, 2010,
5
     at 9:00 a.m. be continued without appearance, for the reasons
6
     set forth above, to Thursday, January 28, 2010, at 9:00 a.m.
7
          The parties further stipulate that time included in this
8
     continuance be excluded pursuant to Speedy Trial Act, 18 U.S.C.
9
     Section 3161(h)(8)(B)(ii)(Local Codes T2 and T4) through January
10
     28, 2010, due to complexity of the case and in the interest of
11

12
     justice to allow the defense time to further prepare for trial

13   and negotiate resolution, if possible.

14

15   /S/ JASON M. HITT, Esq.                     January 6, 2010
     Jason Hitt,
16   Assistant United States Attorney
     Counsel the United States
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     /S/ MICHAEL BRADY BIGELOW, Esq.             January 6, 2010
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     Michael B. Bigelow
     Counsel for Janelle Miller
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1
                                        ORDER
2
          GOOD CAUSE APPEARING and upon the stipulation of the
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4
     parties,

5         IT IS HEREBY ORDERED that the status conference in the

6    above entitled case, presently scheduled for Thursday, January,

7    7, 2010, be continued without appearance to Thursday, January

8    28, 2010, at 9:00 a.m.

9         It is further ordered that time be excluded through January
10   28, 2010, pursuant to the Speedy Trial Act exclusion sections
11
     set forth in the stipulation above.
12
          Time is excluded in accordance with 18 U.S.C. Sections
13
     3161(h)(7)(B)(ii) and (iv) (Local Codes T-2 and T-4).
14

15   DATED: January 6, 2010

16                                   __________________________________
                                     MORRISON C. ENGLAND, JR
17                                   UNITED STATES DISTRICT JUDGE
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